                       Case 2:22-mj-01718-VRG Document 1 Filed 07/25/22 Page 1 of 2
AO 442 (REV. 12/85)




                             UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF TEXAS, DEL RIO DIVISION

United States of America                                    §
                                                            § CRIMINAL COMPLAINT
vs.                                                         § CASE NUMBER: DR:22-M -01718(1)
                                                            §
(1) Erick Ricardo Zamarripa-Corona                          §



                I, the undersigned complainant being duly sworn state the following is true and correct to the best

of my knowledge and belief. On or about July 20, 2022 in Dimmit county, in the WESTERN DISTRICT OF

TEXAS defendant(s) did, knowing or in reckless disregard of the fact that an alien has come to, entered, or

remains in the United States in violation of law, transports, or moves or attempts to transport or move such

alien within the United States by means of transportation or otherwise, in furtherance of such violation of law



in violation of Title             8            United States Code, Section(s)     1324(a)(1)(A)(ii)

.

                I further state that I am a(n) Border Patrol Agent and that this complaint is based on the

following facts: "On July 20, 2022, defendant Erick Zamarripa-Cornona, a Mexican citizen, was arrested near

Big Wells, Texas, within the Western District of Texas, for transporting eight illegal aliens further into the

United States. Dimmit County Sheriff's Office requested Agents to assist with a suspected alien smuggling

event discovered on a vehicle stop for a moving violation

Continued on the attached sheet and made a part of hereof.




Sworn to before me and subscribed in my presence,
                                                                           Signature of Complainant
                                                                           Melton, Lance T.
                                                                           Border Patrol Agent

07/25/2022                                                            at   DEL RIO, Texas
File Date                                                                  City and State



VICTOR ROBERTO GARCIA                                                      ______________________________
UNITED STATES MAGISTRATE JUDGE                                             Signature of Judicial Officer
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CONTINUATION OF CRIMINAL COMPLAINT

                                 WESTERN DISTRICT OF TEXAS
       UNITED STATES OF AMERICA

                       vs.                               Case Number: DR:22-M -01718(1)

      (1) Erick Ricardo Zamarripa-Corona

Continuation of Statement of Facts:

on Highway 85. Agents arrived and conducted immigration inspections and determined the defendant/driver and
eight of his nine passengers were foreign nationals illegally present in the United States. In a sworn statement, the
defendant admitted to making arrangements with a woman named Senora to pick up illegal aliens at coordinates
she provided. The defendant was to be paid between $8000-$13000 USD to drive them to Austin, Texas."




______________________________
Signature of Judicial Officer                                    Signature of Complainant
